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     IT IS ORDERED as set forth below:



     Date: July 7, 2022
                                                     ________________________________
                                                                 Paul Baisier
                                                         U.S. Bankruptcy Court Judge

     _______________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                      :       CASE NO. 22-52950-PMB
                                             :
 ATLANTA LIGHT BULBS, INC.                   :       CHAPTER 11
                                             :
               Debtor.                       :       JUDGE BAISIER


 ORDER GRANTING THE EMERGENCY MOTION BY CHAPTER 11 TRUSTEE FOR
 AN ORDER CONVERTING THE CHAPTER 11 CASE OF THE DEBTOR TO A CASE
                       UNDER CHAPTER 7

         This matter came before the Court on the Emergency Motion by Chapter 11 Trustee for

 an Order Converting the Chapter 11 Case of the Debtor to a Case under Chapter 7 and Request

 for Expedited Hearing (the “Emergency Motion”) (Docket No. 101)1 filed by S. Gregory Hays,


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  Capitalized, but undefined, terms herein shall have the meaning ascribed to such terms in the
 Application.
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 Chapter 11 Trustee (the “Trustee”) for the bankruptcy estate of Atlanta Light Bulbs, Inc., Debtor

 (the “Debtor”) in the above captioned case (the “Case”), seeking the entry of an order

 converting this Case to a case under Chapter 7 of the Bankruptcy Code. On July 1, 2022, this

 Court entered its Order Granting Chapter 11 Trustee’s Motion For Emergency Hearing And

 Notice Of Hearing On Chapter 11 Trustee’s Motion For An Order Converting The Chapter 11

 Case Of The Debtor To A Case Under Chapter 7 (Docket No. 102) wherein the Court scheduled

 a hearing on the Emergency Motion for July 6, 2022 (the “Hearing”).

        Several parties appeared through counsel and were heard at the Hearing. Counsel for

 Tandem Bank appeared and stated that Tandem Bank supported the Motion.. Counsel for Jesse

 Root and BREIT Stone Mountain Owner, LLC appeared and advised the Court that their

 respective clients did not oppose the Motion. The United States Trustee appeared and advised

 the Court that it did not oppose the Motion.

        The Official Committee of Unsecured Creditors (the “Committee”) appeared through

 counsel and objected to the relief sought in the Motion.

        In addition to argument of counsel, the Court also heard sworn testimony from the

 Trustee.

        This Court having reviewed and considered the Motion, the objections asserted by the

 Committee, the evidence presented and argument of counsel at the Hearing, and, for the reasons

 stated by the Court on the record at the Hearing, which are incorporated herein, finds that cause

 exists for the conversion of this Chapter 11 Case to a case under Chapter 7 of the Bankruptcy

 Code, and it is accordingly

        ORDERED that the relief sought in the Emergency Motion is GRANTED; and it is

        FURTHER ORDERED, that the Committee’s Objections are OVERRULED; and it is




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         FURTHER ORDERED, that this Case is hereby converted to a Case under Chapter 7 of

 the Bankruptcy Code effective as of date on which this Order is entered on the docket by this

 Court; and it is

         FINALLY ORDERED, that the United States Trustee is directed to appoint an interim

 Chapter 7 Trustee

                              ***END OF DOCUMENT***

 Prepared and Presented by:

          LAW OFFICES OF HENRY F. SEWELL JR., LLC

          /s/ Henry F. Sewell, Jr.
          Henry F. Sewell, Jr.
          Georgia Bar No. 636265
          2964 Peachtree Road NW, Suite 555
          Atlanta, GA 30305
          (404) 926-0053
          hsewell@sewellfirm.com
          COUNSEL FOR THE CHAPTER 11 TRUSTEE




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                                       DISTRIBUTION LIST



 S. Gregory Hays, Trustee, Suite 555, 2964 Peachtree Road NW, Atlanta, Georgia 30305

 Leslie M. Pineyro, Jones & Walden LLC, 699 Piedmont Avenue NE, Atlanta, Georgia 30308

 Office of the United States Trustee, Suite 362, Richard Russell Building, 75 Ted Turner Drive,
 SW, Atlanta, Georgia 30303

 Atlanta Light Bulbs, Inc., Attn: Jessica Mendoza, CEO, 2109 Mountain Industrial Blvd, Tucker,
 Georgia 30084

 Henry F. Sewell, Jr., Suite 555, 2964 Peachtree Road NW, Atlanta, Georgia 30305

 Jason M. Torf, Tucker Ellis LLP, 233 S. Wacker Drive, Suite 6950, Chicago, Illinois 60606

 Maxwell W. Bowen, Robl Law Group, 3754 Lavista Road, Suite 250, Tucker, Georgia 30084

 All parties on the mailing matrix in this case
